              Exhibit 7



Case 4:23-cv-00051 Document 1-7 Filed 11/22/23 Page 1 of 7 PageID #: 68
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 4      Tel: (310) 510-6211
        Attorneys for Plaintiffs Symantha Reed, Charles Goetz, James Spaulding, Gary Crawford and
 5      Wendy Wharton.
 6
                                    IN THE UNITED STATES DISTRICT COURT
 7
                                 WESTERN DISTRICT OF TENNESSEE (Jackson)
 8
 9
        Symantha Reed, et al.,                                    No.: 1:21-cv-01155-STA
10
                            Plaintiffs,                           PLAINTIFF JAMES SPAULDING’S
11                                                                RESPONSES TO DEFENDANT’S FIRST
                 v.                                               SET OF INTERROGATORIES.
12
        Tyson Foods, Inc.,
13
                            Defendant.
14
15      _____________________________________

16
                 Pursuant to Rule 1 33(b), Plaintiff James Spaulding (“Plaintiff” or “Responding Party”)
17
        responds to the First Set of Interrogatories by Defendant Tyson Foods, Inc. (“Tyson” or
18
19      “Propounding Party”) as follows.

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        ///
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        ///
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27
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                 1
                     All references to “Rule” are to the Federal Rules of Civil Procedure.
        Case No. 21-1155
        Plaintiff
     Case         James Spaulding’s
          4:23-cv-00051             Responses1-7
                                Document     to Defendant’s First Set of Interrogatories
                                                   Filed 11/22/23         Page 2 of 7      PageID #: 69
                                OBJECTIONS TO ALL INTERROGATORIES
 1
 2             Responding Party has not yet fully completed investigation of the facts relating to

 3     this case, has not fully completed discovery in this action, and has not completed preparation
 4
       for trial. All of the responses contained herein are based only upon such information that is
 5
       presently available to and reasonably and specifically known to this Responding Party. It is
 6
 7     anticipated that further discovery, independent investigation, legal research and analysis will

 8     likely supply additional facts, add meaning to the known facts, as well as establish entirely
 9
       new factual conclusions and legal contentions, all of which may lead to substantial additions
10
       to, changes in, and variations from the responses herein.
11
12             The responses contained herein are made in a good faith effort to supply as much

13     information as is presently known by Responding Party based on personal knowledge, and
14
       is in no way to be to the prejudice of Responding Party in relation to further discovery,
15
       research, or analysis. Responding Party expressly objects to the instructions that accompany
16
17     the interrogatories propounded by the Propounding Party to the extent those instructions are

18     inconsistent with the requirements of the Rules and/or applicable case law, and the responses
19
       by Responding Party reject and will disregard any such instructions. The responses to the
20
       individual interrogatories herein are made subject to these general objections, and in no
21
22     manner constitute a waiver of said objections.

23                                   RESPONSES TO INTERROGATORIES
24
       No. 1: Identify each person who has knowledge or information, firsthand or otherwise,
25
       regarding the facts and circumstances upon which you base the allegations and claims
26
27     made within the Amended Verified Complaint or the answers given in response to the

28
                                                            -1-
        Case No. 21-1155
        Plaintiff James Spaulding’s Responses to Defendant’s First Set of Interrogatories
     Case 4:23-cv-00051 Document 1-7 Filed 11/22/23 Page 3 of 7 PageID #: 70
       following Interrogatories, and for each such person listed identified provide a brief
 1
 2     description of the facts and circumstances known by that individual.

 3             Response to No. 1: All Tyson upper management and shift managers have
 4
       knowledge or information regarding the facts and circumstances upon which the
 5
       allegations and claims made within the Amended Verified Complaint or the answers given
 6
 7     in response to the subject interrogatories are based. Responding Party is unaware of the

 8     names, title, or contact information of all of them. Persons whose names and titles that
 9
       Responding Party is aware of in response to this interrogatory are as follows: Tiffany
10
       Cathy (HR Manager), and Ben Milligan (HR Manager).
11
12
13     No. 2: Identify with specificity and particularity all monetary or non-monetary damages
14
       or relief that you seek from the Defendant in this action. For each item of damage, state
15
       separately the factual basis supporting each request, the dollar amount of damages sought,
16
17     and precisely how you calculated the dollar amount of damages. For each item of non-

18     monetary relief sought, state separately the basis for the request.
19
               Response to No. 2: Objection – This interrogatory attempts to circumvent Rule
20
       33(a)(1) limitation of 25 interrogatories absent leave of court, by making four separate and
21
22     distinct interrogatories purportedly under one. Namely, this interrogatory demands

23     Responding Party to “Identify with specificity and particularity all monetary or non-
24
       monetary damages or relief …”. This interrogatory then goes on to demand Responding
25
       Party to separately state the factual basis, dollar amount and “precisely how” each
26
27     identified item of damages was calculated.

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                                                            -2-
        Case No. 21-1155
        Plaintiff James Spaulding’s Responses to Defendant’s First Set of Interrogatories
     Case 4:23-cv-00051 Document 1-7 Filed 11/22/23 Page 4 of 7 PageID #: 71
               Objection – The terms “specificity”, “particularity” and “precisely” are vague and
 1
 2     ambiguous and not specially defined in Propounding Party’s interrogatories. As stated in

 3     Responding Party’s “OBJECTIONS TO ALL INTERROGATORIES” section above,
 4
       Responding Party expressly objects to any and all interrogatories to the extent they
 5
       demand a response over and above, and/or inconsistent with the requirements of the Rules
 6
 7     and/or applicable case law.

 8             Subject to and without waiving said objection(s), Responding Party responds that
 9
       damages sought include declaratory relief that Tyson has violated the Constitutional rights
10
       of Plaintiffs, that Tyson discriminated against the plaintiffs in violation of their state and
11
12     constitutional rights; injunctive relief enjoining Tyson from taking adverse employment

13     action against the plaintiffs; and an order that the plaintiffs be compensated to the extent
14
       allowable under Tennessee state and Federal law for their monetary damages. See further
15
       the Amended Verified Complaint filed in this action on November 18, 2021 (ECF No. 21).
16
17     Additionally, Responding Party’s monetary damages include no less than $1,200,000,

18     representing Responding Party’s best estimate of unpaid wages as of November 1, 2021.
19
       Said monetary damages amount is calculated by Responding Party’s annual wages of
20
       $60,000 at the time employment was terminated by Tyson, multiplied by 20 years that
21
22     Responding Party would have worked at Tyson before retirement. Responding Party’s

23     monetary damages total is upwards of $1,200,000 because Responding Party reasonably
24
       anticipated wage increases for Responding Party’s ongoing employment at Tyson.
25
26
27     ///

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                                                            -3-
        Case No. 21-1155
        Plaintiff James Spaulding’s Responses to Defendant’s First Set of Interrogatories
     Case 4:23-cv-00051 Document 1-7 Filed 11/22/23 Page 5 of 7 PageID #: 72
 1                              IN THE UNITED STATES DISTRICT COURT

 2                           WESTERN DISTRICT OF TENNESSEE (Jackson)

 3
       Symantha Reed, et al.,                                No.: 1:21-cv-01155-STA
 4
                       Plaintiffs,                           CERTIFICATE OF SERVICE
 5
              v.
 6
       Tyson Foods, Inc.,
 7
                       Defendant.
 8
       _____________________________________
 9
10
               IT IS HEREBY CERTIFIED THAT:
11
               I, Robert Holzinger, am a citizen of the United States and am at least 18 years of age. My
12
       business address is 700 South Flower Street, Suite 1000, Los Angeles, California 90017.
13
14             I am not a party to the above titled action. I have caused service of “PLAINTIFF JAMES

15     SPAULDING’S RESPONSES TO DEFENDANT’S FIRST SET OF INTERROGATORIES”

16     on the following party(ies) by U.S. mail with courtesy electronic email transmission to the following
17     party(ies):
18
       J. Gregory Grisham
19     FISHER & PHILLIPS, LLP
       1715 Aaron Brenner Drive
20     Suite 312
       Memphis, TN 38120
21     Email: ggrisham@fisherphillips.com
22     Attorneys for Defendant

23     Robert W. Wilson
       OFFICE OF THE TENNESSEE ATTORNEY GENERAL
24     40 South Main Street, Suite 1014
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25
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26     Attorneys for Intervenor State of Tennessee

27
28     ///

     Case 4:23-cv-00051 Document 1-7 Filed 11/22/23 Page 6 of 7 PageID #: 73
                                              Certificate Of Service
 1     Shanell Lanette Tyler
       TENNESSEE ATTORNEY GENERAL’S OFFICE
 2
       315 Deaderick Street
 3     Nashville, TN 38119
       Email: shanelltyler@ag.tn.gov
 4     Attorneys for Intervenor State of Tennessee
 5
 6           I declare under penalty of perjury that the foregoing is true and correct.

 7
             Executed on August 25, 2023.
 8
 9                                                                    /s/ Robert Holzinger
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     Case 4:23-cv-00051 Document 1-7 Filed 11/22/23 Page 7 of 7 PageID #: 74
                                             Certificate Of Service
